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                     EVENT                             DATE/DEADLINE
Deadline to file Reply in Support of Motion to Compel August 16, 2024
Arbitration
Hearing on Motion to Compel Arbitration              August 30, 2024, at
                                                     10:00 a.m.


      IT IS SO ORDERED.




                             CIVIL MINUTES—
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                                GENERAL
                                                           Initials of Preparer: cla
